     Case 2:19-mj-00075-JTR            ECF No. 6        filed 02/21/19    PageID.17 Page 1 of 1




      United States District Court, Eastern District of Washington
                              Magistrate Judge John T. Rodgers
                                          Spokane

 USA v. Jaydin Ledford                                      Case No. 2:19-MJ-75-JTR


 Initial Appearance on Complaint:                                                           02/21/2019

 ☒ Courtney Piazza, Courtroom Deputy [S]                 ☒ Caitlin Baunsgard, US Atty
 ☐ Pam Howard, Courtroom Deputy [Y]                      ☒ Lorinda Youngcourt, Defense Atty
 ☒ Shane Moore, US Probation / Pretrial                  ☒ Interpreter NOT REQUIRED
   Services Officer
 ☒ Defendant present in custody USM

 ☒    Rights given
 ☒    USA seeking detention                             ☒   Acknowledgment of Rights filed
 ☒    Financial Affidavit (CJA 23) filed                ☒   Defendant received copy of charging document
 ☒    The Court will appoint the Federal Defenders      ☒   Defendant waived reading of charging document
 ☐    Based upon conflict with Federal Defenders, the   ☐   Charging document read in open court
      Court will appoint a CJA Panel Attorney
 ☐    PRE-Trial Services Report ordered                 ☐   POST Pre-Trial Services Report ordered

                                               REMARKS
        Defendant appeared in custody in shackles, at the request of the USM, with counsel and was
advised of his rights and the allegations contained in the Complaint.
        The Defendant acknowledged to the Court that his true and correct name is Jaydin Harvey
Wesley Ledford.
        Based on information provided in the Financial Affidavit, the Court appointed the Federal
Defender to represent Defendant in this matter.
        Government has filed a motion for detention.
        Defendant requested a preliminary/detention hearing.

The Court ordered:
       1. Detention and Preliminary hearing set for 2/26/19 at 1:30 p.m.
       2. Defendant shall be detained by the U. S. Marshal until further order of the Court.

 Detention Hrg:                       Preliminary Hrg:                   Status Hrg:
 02/26/2019                           02/26/2019                         NA
 @ 1:30 p.m. [S/JTR]                  @ 1:30 p.m. [S/JTR]




          Digital Recording/S-740                  Time: 3:22 p.m. – 3:27 p.m.                       Page 1
